  Case 1:21-cv-00504-RGA Document 3 Filed 05/06/21 Page 1 of 1 PageID #: 20



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

 JAMES PARSHALL                                  )
                                                 )
                       Plaintiff,                )      Case No. 1:21-cv-00504-RGA
                                                 )
                                                 )
  v.                                             )
                                                 )      JURY TRIAL DEMANDED
 COOPER TIRE & RUBBER                            )
 COMPANY, JOHN J, HOLLAND,                       )
 BRADLEY E. HUGHES, STEVEN M.                    )
 CHAPMAN, SUSAN F. DAVIS,                        )
                                                 )
 KATHRYN P. DICKSON, TYRONE                      )
 M. JORDAN, TRACEY I. JOUBERT,                   )
 GARY S. MICHEL, BRIAN C.                        )
 WALKER, and ROBERT D.                           )
 WELDING,                                        )
                  Defendants.                    )

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff voluntarily dismisses the claims in the above-captioned action (the “Action”). Defendants

have neither served an answer or a motion for summary judgment in the Action.

 Dated: May 6, 2021                                  LONG LAW, LLC

                                            By: /s/Brian D. Long
                                                Brian D. Long (#4347)
                                                3828 Kennett Pike, Suite 208
                                                Wilmington, DE 19807
                                                Telephone: (302) 729-9100
                                                Email: BDLong@longlawde.com

                                                     Attorneys for Plaintiff
